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                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

EARL PETERS, ET AL.                                                 CIVIL ACTION

VERSUS
                                                                    NO. 16-842-SDD-RLB
RAMAN SINGH, ET AL.

                             AMENDED SCHEDULING ORDER

       Considering Defendants’ Unopposed Motion to Extend the Dispositive Motion Deadline

(R. Doc. 73) filed on January 23, 2019, and for good cause shown;

       IT IS ORDERED that the Motion is GRANTED. In accordance with Federal Rule of

Civil Procedure 16(b)(4), the deadline to file dispositive motions is extended to April 30, 2019.

All other deadlines remain unchanged. The district judge may modify the trial date depending

upon whether and to what extent dispositive motions are filed.

       Signed in Baton Rouge, Louisiana, on January 28, 2019.



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                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE
